
WILLIAM JAY HAMMONS, Defendant Below-Appellant,
v.
STATE OF DELAWARE, Plaintiff Below-Appellee.
No. 443, 2008.
Supreme Court of Delaware.
Decided: November 26, 2008.

ORDER
CAROLYN BERGER, Justice.
This 26th day of November 2008, it appears to the Court that, on November 3, 2008, the Clerk issued a notice to show cause why this appeal should not be dismissed pursuant to Supreme Court Rule 29(b) for the appellant's failure to diligently prosecute his appeal by not filing his opening brief and appendix in this matter. The appellant has failed to respond to the notice to show cause within the required 10-day period. Therefore, dismissal of this action is deemed to be unopposed.
NOW, THEREFORE, IT IS ORDERED, pursuant to Supreme Court Rule 29(b), that the within appeal is DISMISSED.
